                       2:15-cv-02308-EIL # 35   Page 1 of 1                                                  E-FILED
Judgment in a Civil Case (02/11)                                                  Tuesday, 20 June, 2017 12:55:59 PM
                                                                                        Clerk, U.S. District Court, ILCD
                                   UNITED STATES DISTRICT COURT
                                                     for the
                                            Central District of Illinois


          TAD M. LANG,                                  )
                                                        )
                                                        )
         Plaintiff
                                   vs.                  )       Case Number: 15-2308
                                                        )
          MENARD, INC.,                                 )
                                                        )

         Defendant
                                         JUDGMENT IN A CIVIL CASE

           ☐ JURY VERDICT. This action came before the Court for a trial by jury.             The issues
         have been tried and the jury has rendered its verdict.

           ☒ DECISION BY THE COURT. This action came to trial or hearing before the Court.
         The issues have been tried or heard and a decision has been rendered.

               IT IS ORDERED AND ADJUDGED that judgment is entered in favor of Defendant and
         against Plaintiff.


         Dated: 6/20/2017


                                                     s/ Kenneth A. Wells
                                                     Kenneth A. Wells
                                                     Clerk, U.S. District Court
